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                     IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                  SAVANNAH DIVISION



    THE UNITED STATES OF AMERICA,

                     Plaintiff,

                V.                                    4: 08CR100

    NIURKA RASCO,

                     Defendants.



                                      ORDER



         The above cause having come before the Court on the 311t day

    of August, 2009, and the following rulings having been made orally,

    said rulings are hereby made the judgment of the Court.


         Defendant's motion to dismiss and motion to sever are TAKEN
         UNDER ADVISEMENT.

         All other pretrial motions are moot



         SO ORDERED, this 3/day of August, 2009.



                                       fJNITI^C^!i;tATES MAGISTRATE JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA




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